Case 2:05-cr-20217-.]DB Document 12 Filed 07/08/05 Page 1 of 2 Page|D 14

Ffl.ED BY _,A_é_, D.C.
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 85 JU{_ -B m 81 59
Western Division

  
    

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UNITED STATES OF AMERICA ‘“: § .1'5".. -
W!D C‘l int flyka
»vs- Case No. 2:05cr20217-01B
LONNIE SMITH

 

ORDER OF DETENTION PENDING TRIAL
AFFIRMING THE MAGISTRATE JUDGE’S RULING
FINDINGS

ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(@, a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the

appearance of the defendant as required or the safety of any other person and the

community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

A Motion Hearing Was held on July 7, 2005 on Defendant’s Motion for Review of pretrial
Detention. After considering the testimony of witnesses, the evidence submitted, and statements of
counsel, the Court affirmed the Magistrate Judge’s ruling for Detention Pending Trial.

DIRECTIONS REGARDING DETENTION

LONNIE SMITH is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. LONNIE SMITH shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the D___ef dant to the United States marshal for

the purpose of an appearance in connection with a Court proceeding

  

Date: July 7, 2005

 

 

J. DAiiirEL BREEN§\]
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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20217 vvas distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

